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                                                                            First Judicial District, Bonner County
                                                                            Michael W. Rosedale, Clerk of the Court
                                                                            By: Angela Augustine, Deputy Clerk




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           IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE
                STATE OF IDAHO, IN AND FOR THE COUNTY OF BONNER

BRANDY READ, an individual,
                                                             CV09-19-0752
                                    Plaintiff,        NO.

       v.

BONNER COUNTY IDAHO, a political                      COMPLAINT
subdivision of the State of Idaho,

                  Defendant.


       COMES NOW Plaintiff Brandy Read (hereafter, “Plaintiff” or “Read”), by and through

her counsel of record GIANTlegal PLLC and Wendy Earle Law, LLC, and hereby alleges and

complains against Defendant Bonner County, Idaho (“Defendant” or “Bonner County”), as

follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.       Plaintiff is an individual who at all times relevant hereto was a resident of

Kootenai County, Idaho. Plaintiff if currently a resident of Spokane County, Washington.


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                                                                          Buchanan, Barbara A.
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       2.     Defendant was at all times relevant hereto, and presently is, a municipal

corporation and political subdivision and body politic of the State of Idaho. Among its powers is

the power to sue and be sued.

       3.     Venue is proper in this Court pursuant to Idaho Code §5-404 because Bonner

County is a resident of Bonner County, Idaho.

       4.     Jurisdiction is proper in this Court pursuant to Idaho Code §5-514 because the

actions complained of arose in Bonner County, Idaho.

                                     RELEVANT FACTS

       5.     On November 5, 2017, Read drove in snowy, dangerous conditions from her then-

home in Kootenai County, Idaho to the 911 Dispatch Center (“911 Dept.”) in Bonner County,

Idaho where she had been employed off and on for the majority of the prior thirteen (13) years in

various positions. She expected to work that night as scheduled. Instead, when Read arrived after

a harrowing drive, she was met not in the facility, but in the parking lot, by Trace Drumwright

(“Drumwright”), then the Director the 911 Dept. Drumwright handed Read a letter signed by Ror

Lakewold (“Lakewold”) dated November 2, 2017, notifying Read that she had been terminated.

He also handed her a box containing her personal items that had been left at the office. Lakewold

was then the Bonner County Undersheriff, as the 911 Dept. was part of the Bonner County’s

Sheriff’s Department (“BC Sheriff Dept.”). A true and correct copy of the letter is attached

hereto as Exhibit A. At no point prior to meeting Drumwright in the parking lot did Read have

any idea she was being terminated. Read had already received a pay raise during her

probationary period but had not received a review.

       6.     Read was first hired in the 911 Dept. in 2004. Between 2004 and her termination

in 2017, Read worked off and on, but mostly on, at the 911 Dept. She was a supervisor for 7



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years during this time period, always willingly worked overtime, and received positive annual

reviews. Each time she left and returned, personnel at the 911 Dept. basically begged Read to

return. Each time, since BC personnel knew how knowledgeable and hardworking Read was,

Read was given a quick orientation and sent to work. Read was never disciplined or otherwise

provided with any negative comments or supervision prior to her termination in 2017.

       7.     Prior to her termination in a snowy parking lot, Read had begun working for the

911 Dept. on December 12, 2016. She was advised that she was being hired on a probationary

basis pursuant to Section 300.4 of the Bonner County Employee Personnel Manual (“BC

Manual”) and that her employment was “at will” for the first year. This was the first time since

her initial hire in 2004 that she had to serve a probationary employment period, despite having

been a “re-hire” or “new hire” more than once in prior years. Under the probationary policy,

employees must be provided a written evaluation at the six (6) month time period; the evaluation

must be completed by the employee’s supervisor. See BC Manual 300.4. At no time between her

date of hire and her termination was Read evaluated by anyone in violation of the BC Manual.

       8.     In addition to a mandatory probationary period, Read was subjected to a series of

personal, psychological questions post-interview, pre-employment as dictated by Sheriff’s Dept.

policies. Read had never been evaluated like this at any other time during her 13 years of

employment, and nothing in her record indicated anything other than exceptional performance

under pressure, even when faced with the most troubling situations.

       9.     In August 2017, prior to her termination, Read had a conversation with

Drumwright regarding the handling of vacations and time off during the busy summer season.

Priority was given to Amber Lindsay and her friends, who continually violated stated policies

regarding the appropriate timing of vacation and days off during that time period. Drumwright



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did not respond well to Read’s comments, stating words to the effect of “this is my house;

anyone that causes a disruption in my house, I have no problem getting rid of…” In addition,

Read complained that a lower level employee was having “sleep overs” at Lindsay’s house as the

employee was dating Lindsay’s sister. These “sleep overs” were being unprofessional discussed

at the office. At all relevant times, Lindsay was the 911 Dept. Operations Manager and should

not have been permitting such sleep overs or discussions. Read also complained to Drumwright

about a supervisor coming to work so intoxicated that the supervisor was vomiting at work – the

party had been held at Lindsay’s home. Drumwright’s relationship with Read deteriorated after

this discussion.

       10.     In the Lakewold termination letter, Read was directed to contact Cindy Binkerd

(“Binkerd”) in HR, which Read did. Read met with Binkerd in person for a conversation that

Read recorded. During the meeting, Binkerd told Read in precise terms that the meeting was

Read’s “opportunity to be heard” pursuant to the BC Manual’s “name clearing” process at

1000.2. In fact, Binkerd’s in person meeting is nowhere near the name clearing procedure that is

afforded Bonner County employees – specifically, pursuant to BC Manual 1000.2., an informal

procedure between the employee and her Elected Officials with the Bonner County Board of

Commissioners. Binkerd is not and was not an elected official at the time of Read’s termination,

nor has she ever been a Commissioner. Binkerd is not and was not an impartial decision maker.

       11.     Read was twice offered the opportunity to resign in lieu of being terminated both

in person by Binkerd and in Lakewold’s letter. Read had been working in her probationary

period for over 11 months, knew her performance had been exemplary, and fully expected to

become a “for cause” employee as afforded all Bonner County personnel. The offer of




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resignation confused her especially in light of the County’s failure to perform a 6-month review

as explicitly required by the BC Manual.

       12.     Since being terminated, Read has struggled to find comparable work in terms of

rate of pay, level of benefits, and opportunity for advancement. Read is over 40 with many years

of meaningful work ahead and a minor child to support. She simply reported inappropriate use of

days off and vacation time, as well as an appearance of favoritism in the 911 Dept., and found

herself terminated despite a previously exceptional work history. At not time did Bonner County

afford her the process it promised her as a condition of employment – including a six (6) month

mandatory review and a “name clearing” procedure with the Board of Commissioners, not a

Human Resources employee.

                    FIRST CAUSE OF ACTION
BREACH OF BONNER COUNTY POLICY MANUAL AND IMPLIED COVENANT OF
                 GOOD FAITH AND FAIR DEALING

       13.     Read realleges the preceding paragraphs as if fully set forth herein.

       14.     Bonner County failed to provide her with a mandatory review within six (6)

months of the start of her employment in December 2016; failed to advise her of her post-

termination rights; lied to her about the “name clearing” and opportunity to be heard provisions

of the BC Manual; and failed to provide an impartial decision maker. Read relied on and was

bound to the BC Manual she signed upon re-gaining employment with Bonner County, just as

Bonner County was bound to the explicit terms of the BC Manual it created.

       15.     She rightfully expected and justifiably relied on Bonner County to do what it

explicitly promised to do in writing in the BC Manual.

       16.     As a direct and proximate result of Bonner County’s failure to follow its own

explicit policies, Read was damaged in an amount to be proven at trial.



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                            SECOND CAUSE OF ACTION
                        BREACH OF IMPLIED POLICY MANUAL

        17.   Read realleges the preceding paragraphs as if fully set forth herein.

        18.   Read had a reasonable expectation of continued employment with the 911 Dept.

Since 2007, she had worked on and off for the majority of her time for the 911 Dept. including 7

years as Supervisor. She was never disciplined or otherwise provided with any negative

comments or disciplinary supervision prior to her unexpected and unsupported termination in

2017.

        19.   This was the first time that Read had been placed on a probationary period

throughout the course of her employment with BC County of more than a decade. She was

placed in the position with a minimum of training based on her past history and experience in

911.

        20.   During her probationary hearing, she did not receive the mandatory 6-month

review. She did receive a raise. Approximately 11 months into employment with the County and

without the benefit of a required review, with no disciplinary notices, and without having

received a raise, Read reasonably believed that BC County viewed her as having successfully

completed the probationary period.

        21.   Read was terminated approximately one month prior to the full 12-month

probationary period.

        22.   As a direct and proximate result of Bonner County’s failure to adhere to the

implicit terms of her employment, Read was damaged in an amount to be proven at trial.

                                THIRD CAUSE OF ACTION
                               DUE PROCESS VIOLATIONS

        23.   Read realleges the preceding paragraphs as if fully set forth herein.



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       24.    As a public employee, Read was entitled to certain due process attendant to her

employment with Bonner County. Instead, Binkerd, acting in her official capacity as the Director

of Human Resources for Bonner County, intentionally and knowingly misled Read into believing

that a meeting between Read and Binkerd was a name clearing hearing, as outlined by the BC

Manual at 1000.2.

       25.    Read reasonably relied on Binkerd’s statements in believing that she had no other

options in challenging her termination. Read reasonably relied on Binkerd’s apparent status as an

impartial decision maker.

       26.    As a direct and proximate cause of Binkerd’s and Bonner County’s due process

violations, Read was damaged in an amount to be proven at trial.

                      FOURTH CAUSE OF ACTION
          WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

       27.    Read realleges the preceding paragraphs as if fully set forth herein.

       28.    Read reported misuse of time off and vacation time by other 911 Dept. employees

to her direct supervisor Drumright, less than six (6) months prior to her termination. From the

date of her report, during which Drumwright essentially threatened that Read needed to get along

to go along, Read’s relationship with Drumwright deteriorated. Read, a former 911 Dept.

supervisor, was terminated in violation of public policy not because she was not performing well,

but because Drumwright and his favorites did not like Read’s proper complaints about policy

violations.

       29.    As a direct and proximate cause of Drumwright and Bonner County’s wrongful

termination of Read, she was damaged in an amount to be proven at trial.

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                              FIFTH CAUSE OF ACTION
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       30.       Read realleges the preceding paragraphs as if fully set forth herein.

       31.       Read was subjected to personal, painful, and unnecessary background questions

as part of her pre-employment onboarding with the 911 Dept. in 2016. At no point prior, had

Read ever been subjected to the same, and it is unclear whether the person questioning Read was

qualified to engage in such psychological evaluation.

       32.       As a direct and proximate cause of Bonner County’s screening practices, Read

suffered emotional distress and related damages in an amount to be proven at trial.



                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Brandy Read requests the following relief:

       33.       Damages, including back and front pay; lost benefits; out of pocket expenses; and

any other damages in an amount to be proven at trial.

       34.       Pre- and post-judgment interest.

       35.       A name clearing and removal of her “termination” status from her Bonner County

personnel files.

       36.       Costs and attorneys’ fees pursuant to applicable Idaho statutes or as equity

requires.

       37.       All other relief that this Court deems reasonable, necessary, and just sounding in

law or equity.




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     DATED this 17th day of May 2019.

                                        GIANTlegal PLLC



                                        s/ Robin L. Haynes

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